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                                                                                                PMH
                           U.S. District Court
                Southern District of Florida (Ft Lauderdale)
     CRIMINAL DOCKET FOR CASE #: 0:19−mj−06549−PMH All Defendants

    Case title: USA v. Finkelstein                              Date Filed: 11/19/2019
                                                                Date Terminated: 11/19/2019

    Assigned to: Magistrate Judge Patrick M.
    Hunt

    Defendant (1)
    Stuart Finkelstein
    TERMINATED: 11/19/2019

    Pending Counts                             Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                          Disposition
    None

    Highest Offense Level (Terminated)
    None

    Complaints                                 Disposition
    18:1341.F. Mail Fraud



    Plaintiff
    USA                                            represented by Jodi Anton
                                                                  U.S. Attorney's Office
                                                                  500 E. Broward Boulevard
                                                                  Suite 700
                                                                  Fort Lauderdale, FL 33394
                                                                  954−660−5692
                                                                  Fax: 954−356−7336
                                                                  Email: jodi.anton@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Retained
                                                                                                      1
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    Date Filed   # Page Docket Text
    11/19/2019   1    3 Magistrate Removal of Complaint from Southern District of New York Case
                        number in the other District 19−mj−10645 as to Stuart Finkelstein (1). (tpl)
                        (Additional attachment(s) added on 11/19/2019: # 1 Arrest Warrant) (tpl).
                        (Entered: 11/19/2019)
    11/19/2019   2   16 Order to Unseal as to Stuart Finkelstein Signed by Magistrate Judge Patrick M.
                        Hunt on 11/19/2019. (tpl) (Entered: 11/19/2019)
    11/19/2019   3   17 Minute Order for proceedings held before Magistrate Judge Patrick M. Hunt:
                        Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Stuart Finkelstein
                        held on 11/19/2019. Bond recommendation/set: Stuart Finkelstein (1) $150,000
                        PSB. Date of Arrest or Surrender: 11/19/2019. Temporary attorney Brian Griffin
                        appeared telephonically. (Digital 11:20:45) Signed by Magistrate Judge Patrick
                        M. Hunt on 11/19/2019. (tpl) (Entered: 11/19/2019)
    11/19/2019   4   18 WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Stuart Finkelstein (tpl) (Entered:
                        11/19/2019)
    11/19/2019   5   19 $150,000 PSB Bond Entered as to Stuart Finkelstein Approved by Magistrate
                        Judge Patrick M. Hunt. Please see bond image for conditions of release. (tpl)
                        (Additional attachment(s) added on 11/19/2019: # 1 Restricted Bond with 5th
                        Page) (tpl). (Entered: 11/19/2019)
    11/19/2019   6   32 ORDER OF REMOVAL ISSUED to District of Southern District of New York
                        as to Stuart Finkelstein. Closing Case for Defendant. Signed by Magistrate Judge
                        Patrick M. Hunt on 11/19/2019. See attached document for full details. (tpl)
                        (Entered: 11/19/2019)




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                                            :9 MàG 10645
   Approved :     ç
                  y.
                R USHM I BHA SFA RAN
                Assistant United States Attorney

   Before :     THE HON ORABLE KATHAR INE                PA RKER
                United States Magistrate Judge
                Southern District of New York
                                                          -
                                                              X
                                                                   SEALE D COM PLA INT
   UN ITE D STA TES O F AMER ICA
                                                                   Violation s o f
                                                                   18 U .S.C . 55 1341,
                                                                   1028A, l5l2(c),
                                                                   1623, and 2
   STUA RT FINK ELSTE IN ,
                                                                   COUN TY OF O FFENSE :
                                  Defendant .                      NEW YORK


   SOUTHERN DISTRICT OF NEW YORK ,

             MASON POSILKIN, being duly sworn , deposes and says
   that he is a Special Agent with the U .S . Attorney 's Office for
   the Southern District of New Yorkr and charges as follows:

                                            COUN T ONE
                                           (Mail Fraud)
             1,   From at least in or about October 2013, up to and
   including at least in or about May 2019, in the Southern
   District of New York and elsewhere, STUART FINKELSTEIN, the
   defendantr willfully and knowinglyr having devised and intending
   to devise a scheme and artifice to defraudr and for obtaining
   money and property by means of false and fraudulent pretensesr
   representationsz and promisesz for the purp ose of executing such
   scheme and artifice and attempting so to dor did place in a post
   office and authorized depository for mail matter, matters and
   things to b e sent and delivered by the Postal Servicer and did
   deposit and cause to be deposited matters and things to be sent
   and delivered by private and commercial interstate carriers, and
   did take and receive therefrom , such m atters and thingsr and did
   cause to be delivered by mail and such carriersr according to
   the directions thereonr and at the places at which they were
   directed to be delivered by the person to whom they were
   addressed, such matters and thingsr to wit, FINKELSTEIN filed or
   caused to be filed fraudulent lawsuits pursuant to the Americans



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    witb Disabilities Act (the ''ADA/') against various public
    establishments in Florida and New York on behalf of individuals
    who neither authorized those lawsuits nor visited those
    establishments, in order to obtain cash payments for himself,
    and caused correspondence to be mailed from an attorney in
    Manhattan, New York in furtherance of his fraudulent scheme.

             (Tit1e        United States Code, Sections          and

                                       COO T > 0
                               (Aggravated Identity Theft)

                   From in or about October 2013 up to and including
    in    about May 2019 in the Southern District of New York and
    elsewhere, STUART FINKELSTEIN, the defendantr knowingly did
    transfer, possess, and use , without lawful authority, a means of
    identification of another person , during and in relation to a
    felony violation enumerated in Title l8r United States Code,
    Section .1028A (c), to wit, FINKELSTEIN possessed, used, and
    transferred the personal identification information of V ictim-l
    and Victim-z in connection with the mail fraud schem e charged in
    Count 0ne of this Complaint .

      (
       Title           United States Code, Sections 1O28A (a)(1), 1028A (b)r
      .
                                        and 2.)
                                      COUNT THREE
                                (Obstruction of Justice)
                   QFrom at least in or about June 2018 up to and
    including at least in or about July 2018 in the Southern
    District of New York and elsewhere, STUART FTNKELSTEIN , the
    defendant , did corruptly obstruct, influence, and impede an
    official proceeding, and attempted to do so, to wit, FINKELSTEIN
    made materially false statements, and threatened Victim-z to
    attend a hearing, in a federal civil litigation filed in the
    United States District Court for the Southern District of New
    York .
          (Title         Dnited States Code, Sections 1512 (c) (2) and

                                       COUNT FOUR
                                 (Obstruction of Justice)
               4.   From at least in or about February 2019 up to and
     including at least in or about May 2019 in the Southern District
     of New York and elsewhere, STUART FINKELSTEIN , the defendantr



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    did corruptly obstruct, influencez and impede an official
   proceeding, and attempted to do so, to wit r FINKELSTEIN offered
    to return a portion of a settlement payment, and made materially
    false statements to the attorney of a rest auran t FINK ELSTE IN
    sued, in order to cause that attorney to withdraw a motion
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    pending in the United States District Court for the Southern
    District of New York.
        (Title 18, United States Coder Sections                      and 2 .)

                                    COUN T FIVE
                      (False Declarations Before A Court)

               5.   On or about March    2019, in the Southern
                                                 FINKELSTEIN , the
    District of New York and elsewhere, STUA RT
    deT endant,
                under eath and in a declaration , verificationr and
    statement made under penalty of perlury pursuant to Title 28,
    United States Code , Section 1746, in a proceeding before and
    ancillary to a court and grand jury of the United States,
    knowingly did make false material declarations, and m ade and
    used other information includihg books, papers, docum ents ,
    records, recording and other material knowing the sam e to
    contain false, material declaration, to wit, FINKELSTEIN, in a
    declaration he filed in the United States District Court for the
    Southern District of New York, stated under penalty of perjury
    that Victim -z authorized a lawsuit filed under the ADA , when in
    truth a= d fact, Victim-z had n6t .

          (Title 18, United States Code, Sections 1623 (a) and

                                     COU NT SIX
                      (False zeclarations Before A Court)

              6. On or about April 18, 2019, in the Southern
                New York and elsewhere, STUART FINKELSTEIN, the
    District ofunder oath and in a declaration , verification, and
    defendant,
    statement made under penalty of perjury pursuant to Title 28,
    Dnited States Code, Section 1746, in a proceeding before and
    ancillary to a court and grand jury of the United States,
    knowingly did make false material declarations, and made and
    used other information including books, papers, documents,
    records, recording and other material knowing the same to
    contain false, m aterial declaration , to wit, FINKELSTEIN , in a
    declaration he filed in the United States District Court for the
    Southern District of New Yorkr stated under penalty of perjury
    that Victim-z authorized a lawsuit filed under the ADA , when in
    truth and fact, Victim -z had not .


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          (Title l8, United St-ates Code, Sections l623(a) and
               The bases for my knowledge and for the foregoing
   charge        in partr as follows:

              7.     am a Special Agent with the U.S. Attorneyfs
   Office for the Southern District of New York . I have been
   personally involved in the investigation of this matter, and I
   base this affidavit on that experience, and on my examination of
   various reports and records    Because this affidavit is being
   submitted for the limited purpose of demonstrating probable
           it does not include all the facts I have learned during
   cause ,
   the course of my investigation. Where the contents of documents
   and the actions, statements, and conversations of others are
   reported herein, they are reported in substance and in part,
   except where otherwise indicated .
                             overvâew of the Scheme

               8.    Based on my involvem ent in this investigation,
                                                 I know that STUART
    and as described in further detail below ,
                   the defendant, is a lawyer who has filed, or has
    FINKELSTE IN ,
    caused to be filedr over 3O0 lawsuits pursuant to the Americans
   with Disabilities Act (''ADA'') on behalf of two purported
    plaintiffs, Victim-l and Victim-z   These lawsuits were filed in
    the United States District Courts for the Southern District of
    Florida and the Southern District of New York against various
    public establishments (the 'Avictim Public Establishments'')
    Each of these lawsuits made representations that Victim-l and
    Victim-z were represented by FINKELSTEIN or an associate .
    Furthermore , each of these lawsuits alleged that Victim -l and
    Victim-z attempted to visit the Victim Public Establishmentsr
    but were unable to do so because of those establishments'
    alleged noncompliance with the ADA . The lawsuits sought
    attorney's fees and injunctive relief to address the alleged
    noncompliance with the ADA .

              9 . The lawsuits filed by STAURT FINKELSTEIN , the
    defendant, however, were fraudulent . Victim-l and Victim-z
    neither retained nor authorized FINKELSTEIN to file ADA lawsuits
    on their behalf. Contrary to FINKELSTEIN'S representations,
    Victim-l and Victim-z never attempted to visit the Victim Public
    éstablishments. Instead, FINKELSTEIN stole the identities of
    Victim -l and Victim-z, made numerous false representations to
    the Victim Public Establishments and the courts in the Southern
    District of New York and the Southern District of Florida,



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    obstructed official judicial proceedings, and ther settled these
    fake lawsuits in order to collect approximately $930,000 in
    attorney's fees.
              l0 . Furthermorer I know from my review of documents
    in this case that STUART FINKELSTEIN , the defendant , caused
    correspondence to be mailed trough private and commerciak mail
    carriers in furtherance of this scheme .

                                     Backgrou nd

              1l. Based on my training and experiencez as well as
    my work on this investigation, I understand the following, among
    other things, about civil lawsuits filed pursuant to the ADA :

                        The A DA provides that no one shall be
                       a.
    discriminated against based on disability in any place of
    npublic aecommodation . '' 42 U.S.C 5 12l82(a). Discrimination
    includes the failure to remove ''architectural barriers
    existing facilities          where such removal is readily
    achievable.'' 12 U.S.C 5 l2l82(b)(2)(A)(iv). The ADA can be
    enforced through private lawsuits, which allow plaintiffs with
    disabilities to request injunctive relief to address
    discrimination caused by an architectural barrier, and to
    collect attorney's fees.

                       b.   To assert standing under the ADA , the
    plaintiff must: (l) allege past injury, (2) demonstrate that it
    is reasonable to infer that the discriminatory treatment will
    continue, and (3) demonstrate that it is reasonable to infer
    that the plaintiff intends to return to the establishment again .
    To allege past inlury, the plaintiff must make some effort to
    visit the public establishment that is being sued .

              l2 . Based on my review of New York State court
               know that STUART FINKELSTEIN , the defendant , WaS
    records, I
    admitted to the New York State Bar on or about December l3,
    1989     In approximately 2006, in response to an investigation
    opened into FINKELSTEIN for attorney misconduct? FINKELSTEIN
    submitted an application to resign as an attorney . On or about
     February 13, 2007, FINKELSTEIN'S applicaiion was grantedr which
     resulted in him being disbarred in New York pursuant to an order
     issued by the Supreme Court of tùe State of New York (the
     'Norder/'). That Order required FINKELSTEIN to ndesist and
     refrain from (1) practicing law in any form, either as
     principal, agent, clerk, or employee of anotherr (2) appearing
     as an attorney or counselor-at-law before any court, Judge,


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    Justice , board, commission or other public authority, (3) giving
    to another an opinion as to the law or its application or any
    advice in relation thereto, and (4) holding himself out in any
    way as an attorney and counselor-at law .'' The Order did not
    expressly limit its jurisdictional reach to New York .
     FINKELSTEIN 'S Fraudulent Lawsuits Filed in the N ame of Victim -l

              l3 . I know from my discussions with an attorney who
    had been licensed to practice law in Florida ('RAttorney-l'')f a S
    well as my review of Attorney-l's documents, that in
    approximately 2012, Attorney-l retained STUART FINKELSTEIN , the
    defendant, as a consultant to serve as an expert in ADA
    litigation. In approximately 2013, FINKELSTEIN told Attorney-l
    that Victim-l, a disabled wheelchair user residing in Florida,
    agreed to be an ADA plaintiff by visiting certain public places
    with FINKELSTEIN, investigating whether those places were
    compliant with the ADA , and where appropriater filing lawsuits
    against non-compliant establishments    Between 2013 and 2016,
    FINKELSTEIN , through Attorney-l? filed approximately over 280
    such lawsuits with Victim-l as the named plaintiff (the nVictim-
    1 Lawsuits'') in the United States District Court for the
    Southern District of Floridq. These lawsuits generated
    approximately $650,000 in attorney feesr a portion of which
    Attorney-l paid FINKELSTEIN .
                    I know from my review of Attorney-l's documents
    that in approximately March 2016, STUART FINKELSTEIN, the
    defendant , submitted his resignation to Attorney-l.

              l5. In approximately April 2016, Victim-l submitted
    complaint to The Florida Bar . Based on my review of that
    complaint, as wqll as my interviews of Victim-l, I have learned
    the following, among other things:

                     a . Victim-l stated that STUART FINKELSTEIN , the
    defendant , approached Victim-l at a gas station in Florida while
    Victim-l was filling gas in Victim -l's car . Victim-l stated
    that PINKELSTEIN told Victim-l that FINKELSTEIN worked for an
    attorney and asked Victim-l if Victim-l would be willing to
    assist FINKELSTEIN in assessing whether certain public
    establishments were accessible for wheelchair useçs
    FINKELSTEIN offered to provide Victim-l the addresses of certain
    public establishments, as well as gas money. Victim-l stated
    that Victim-l told FINKELSTEIN, in some and substancer that
    Victim-l was glad to help, and gave FINKELSTEIN Victim-l's phone
    number . Victim-l, however, did not retain FINKELSTEIN or anyone



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    else to file lawsuits on Victim-l's behalf. In addition,
    Victim-l said that FINKELSTEIN never provided Victim-l with
    addresses to visit .
                     b . Later, FTNKELSTEIN called Victim-l and asked
    Victim -l to meet FINKELSTEIN at a bank in Florida . FINKELSTEIN
    asked Victim-l, in some and substance, to sign a document for a
    place FINKELSTEIN was going to have Victim-l visit that
    FINKELSTEIN represented was not accessible. Once again,
    FINKELSTEIN did not provide Victim-l with the address of any
    public place to visit, and Victim-l did not authorize
    FINKELSTETN to file any lawsuits on Victim-lls behalf.

                    c . In approximately early 2016, FIN KELSTE IN
    told Victim-l that news outlets might try to ask Victim-l some
    questions, and requested Victim -l to not respond . Soon
    thereafter, Victim-l learned from the news that Victim-l was the
    apparent plaintiff in several ADA lawsuits . Victim-lr who never
    authorized anyone to file these lawsuits, demanded that
    FINKELSTEIN provide any documents that Victim-l allegedly signed
    in connection with the Victim-l lawsuits. Based on my
    involvement in this investigation , T believe that FINKELSTEIN
    never responded to Victim-l's request, and that in March 2016,
    FINKELSTEIN submitted his resignation to Attorney-l .

              l6. Based on my review of documents from Attorney-l
    and my discussions with Attorney-l, I know that following the
    resignation of STUART FINKELSTEIN, the defendantr A ttorney-l,
    provided Victim-l with the copies of settlement agreements that
    were purportedly signed by Victil-l. I know from Victim -l that
    when Victim-l reviewed these agreementsr Victim-l saw that
    Victim-l's signatures had been forged .

              17. I know from my review of documents from The
    Florida Bar that , as a result of Victim-l's complaint , The
    Florida Bar opened disciplinaty proceedings àgainst Attorney-l.
    Attorney-â, who believed that Victim-l had authorized all of the
    Victim-l Lawsuits but acknowledged his failure to adequately
    supervise STUART FINKELSTEIN , the defendant , agreed to submit
    his resignation to The Florida Bar .
       FINKELSTEIN'S False Statements to Regain Admission to the New
                                 York Bar

                 18. Based on my review of records maintained by the
    Appellaie Division of the Supreme Court of the State of New
     York, Second Judicial Department, in Brooklyn , New Yorkr 1 have


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    learned that in approximately September 2011, STUART
    FINKELSTEIN , the defendant, moved for reinstatement to the New
    York State Bar. In connection with that motion , FINKELSTEIN
    made or caused to be made several false representations
    concerning FTNKELSTEIN'S work history in Florida. For example,
    FINKELSTEIN'S motion stated, falsely r that following his 2007
    disbarment, he A'neither practiced law nor held himself out as a
    lawyer while disbarred .'' In describing his employment history
    in Florida, FINKELSTEIN made no mention of the fact that he
    assisted Attorney-l in litigating ADA claims. FINKELSTEIN also
    included his 2013 tax returns as an attachment to his
    application, which omitted the income that Attorney-l paid
    FINKELSTEIN or a company that FINKELSTEIN established to receive
    payments from Attorney-l.
                   Based on my review of court records, I know that
    STUART FINKELSTEIN , the defendant, was reinstated to the New
    York State Bar    or about March l6z 2016.

        FINKELSTEIN'S Perjurious Statements and Fraudulent Lawsuits
                           Filed in the Name of Vietim-z

              20   I have searched public databases to determine
    whether STUART FINKELSTETN , the defendant, has filed any
    lawsuits in the Southern and Eastern Districts of New York since
    his reinstatement to the New York Bar. Based on that review , I
    have learned that, beginning in approximately August
    ZOIV,FINKELSTEIN filed approximately 30 ADA lawsuits in those
    Districts on behalf of an individual (nvictim-z'') residing in
    the state of New York (the nvictim-z Lawsuits'/). I know from
    reviewing FINKELSTEIN/S bank records that FINKELSTEIN has
     collected approximately $270,000 by settling the Victim-z
    Lawsuits .
               2l . However, I know from my discussions with Victim-z
    that Victil -z neither authorized the Victim-z Lawsuitsr nor
    visited any of the Victim Public Establishments that FINKELSTEIN
    had sued . In addition, Vsctim-z has explained the following,
    among other things, about Victim-z's prior dealings with
     FINKELSTEIN :
                      a.     Approximately twenty years ago, FINKELSTEIN
     had represented Victim-z in connection with a personal injury
     lawsuit approximately.
                      b.     In approxim ately the spring or summer of
     2017, Victim-z's family member (N%Family Member-lr') was looking


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    for a lawyer to represent Family Member-l in a personal injury
    lawsuit. Victim-z referred Family Member-l to FINKELSTEIN .
    Until approximately February 2019, Victim-z spoke to FINKELSTEIN
    occasionally a bout the referral, and in one instance, Victim-z
    accompanied Family Merb er-l to an in-person meeting with
    FINKELSTEIN in a hotel in Brooklyn . At this meeting,
    FINKELSTEIN saw that Victix -z was limping due to a back
    condition .
                    c.   Because Victim-z referred Family Member-l to
    FTNKELSTEIN , FINKELSTEIN gave Victim-z a referral fee , paid in
    three installments between approximately January 2018 to August
    2018 .
                    d.   In approximately August 2017, Victim-z told
     FINKELSTEIN that Victim-z had been denied disability benefits.
    -FINKELSTEIN offered to help Victim -z by referring Victim-z to a
     disabilities benefits attorney . To make the referral,
     FINKELSTEIN asked Victim -z to provide FINKELSTEIN with Victim-
    2's medical records. Victim-z did so in approximately Aprll
    2018 .
              22 . Because Victim-z never retained STUART
    FINKELSTEIN , the defendant, to file the Victim -z lawsuitsr nor
    visited the Victim Public Establishments that FINKELSTEIN sued,
    FXNKELSTEIN Pade the following materially false declarations,
    under penalty of perjury, in the United States District Court
    for the Southern District of New York :

                    a. On or abont March 1, 2019., in a federal
    civil proceeding which FINKELSTEIN initiated with Victim-z as
    the named plaintiff, FINKELSTEIN submitted a declaration r made
    under the penalty of perjury pursuant to Title 28, United States
    Code, Section 1746, stating that Victim-z authorized that civil
    proceedingr when in truth and fact , Victim-z had not .

                     b . On or about April l8r 2019, in a federal
     civil proceeding which FINKELSTEIN initiated with Victim-z as
     the named plaintiffr FINKELSTEIN submitted a declaration r made
     under the penalty of perjury pursuant to Title 28, United States
     Code, Section 1746, stating that Victim-z authorized that civil
     proceeding, when in truth and factr Victim-z had not .


               23. In addition, I know from my involvement in this
     investigation and my review of docuaents that STUXRT
     FINKELSTEIN , the defendant, caused correspondence to be mailed


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     through private and commercial mail carriers in furtherance
     this scheme. For example, on or about August l0, 2018, an
     attorney (uAttorney-z-) reprosentrng a public establishment
     FTNKELSTEIN sued in Victim-z's name mailed FINKELSTEIN
     settlement documents and a settlemerzt check . Attorney-z mailed
     these documents fror Attorney-zfs office in Manhattan, New Yorkr
        a private post office box controlled by FINKELSTEIN .

                      FINKEL STK IN 'S Ob strur tion of Ju stice

                 24. Fn or about January 2018, STUART FINKELSTEIN , the
     defendant, filed a lawsuit (nLawsuit-lf') against a restaurant
     (nRestaurant-l/') with Victim-z as the named plaintiff. I have
     reviewed court filings from Lawsuit-l and em ail correspondence
     between STUART FINKELSTEIN, the defendantz and the attorneys
     representing Restaurant-l (the R'Restaurant-l Attorneysr'l.l Based
    on my review of these documents, as well as my discussions with
    Victim-z, I have learned the following, among other things :

                       a.    On or about June 26, 2018, a federal
     district court judge sitting in the Southern District of New
     York (''ludge-l/r) ordered FINKELSTEIN to provide the Restaurant-l
    Attorneys with Victim-z's fully-exçcuted medical power of
    attorney by on or about June 27, 2018.

                   b.    On or about June 27, 2018, FINKELSTEIN
    provided the Restaurant-l Attorneys with a power of attorney
    document that was purportedly signed by Victim-z . According
    Victim-z, Victim -z did not sign this document and Victim-z's
    signature was forged .

                    c.   On or about July 2, 2018, FINKELSTEIN
    provided the Restaurant-l Attorneys with a revised power of
    attorney form , purportedly signed by Victim -z, and a medical
    release form signed by FINKELSTEIN pursuant to the power of
    attorney form . According to Victim-zz Victim-z did not sign
    this power of attorney form and never authorized FINKELSTEIN to
    permit his medical records to be released to the Restaurant-l
    Attorneys.
                    d.   On or about July 2, 2018, Judge-l ordered
     FINKELSTEIN and Victim -z to attend a court conference on or
     about July l3, 2018 (the 'Nluly 13 Conference/').


     l The email correspondence was obtained pursuant to ludicially-authorized
     warran'ts obtained on August 16, 2019 (the nAugust 16 Warrant'').


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                   e . According to Victim-z, prior to the July 13
    Conference, FTNKELSTEIN called Victim-z and threatened to
    divulge confidential information about Victim-z to others unless
    Victim-z appeared with FINKELSTEIN at the July 13 Conference .
    FINKELSTEIN also demanded that Victim-z arrive at the court
    conference in a wheelchairr even though Victim-z did not use
    one. To that endr FINKELSTETN sent money to Victim-z for Victim-
    2 to purchase a wheelchair .

                         According to court documents and Victim-z,
    Victim-z appeared with FINKELSTEIN at the Juzy 13 Conference.
    At FINKELSTEIN 'S direction, and as a result of FINKELSTE IN'S
    tbreat against Victim -z, Vietim-z falsely informed the court
    that Victim-z signed a power of attorney document authorizing
    FINKELSTEIN to release Victim-z medical records, even though
    Victim -z had not signed the documert and never authorized
    FINKELSTEIN to release Victim-z's medical records to the
    Restaurant-l Attorneys .

                     g.   Shortly before or after the July 13
    Conference, a photograph of FINKELSTEIN and Victim-z in a
    wheelchair was taken outside the United States District Court
    for the Southern District of New York. FINKELSTEIN also gave
    Victim -z cash ifter the conference .                '
              25 . I know from court records and FINKELSTEIN 'S bank
    records that in approximately June 2018, FINKELSTEIN settled an
    ADA lawsuit (''Lawsuit-z'') against a restaurant t'xResta'
                                                             arant-z//l,
    filqd with Victim-z as the named plaintiff in the United State:
    District Court for the Southern District of New York . AccordLng
    to court records, on or about February 20, 2019, a lawyer
    (nAttorney-3'') for Restaurant-z requested the judge (''Judge-2'')
    to reopen Lawsuit-z to determine whether FINKELSTEIN
    fraudulently filed it .

                26. On or about April 3, 2019, Judge-z scheduled a
    court conference for May lr 2019 (the nMay 1 Conference'') and
    ordered FINKELSTEIN and Victim-z to appear . AtEorney-3 informed
    me that , prior to the May 1 Conference, FINKELSTETN offered to
    return some of the settlement funds back to Restaurant-z if
    Restaurant-z dropped its request for a hearing . In addition,
    FINKELSTEIN provided Attorney-3 documents purporting to show
    that Victim-z authorized Lawsuit-z.

              27. I have reviewed the documents that STUART
    FINKELSTEIN , the defendant, provided Attorney-3. They include
     (1) call records with Victim-z, (2) redacted bank statements


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         showing a $500 casb debit, and (3,) a photograph of Victim-z and
         FINKELSTEIN from the July 13 Conference . Based on my
         involvement in this investigation , including my discussions with
         Victim-zs I believe that these documents do not estab lish that
         Victim-z retained FINKELSTEIN or authorized Lawsuit-zr     any of
         the Victim-z Lawsuits.
                        On the basis of FINKELSTEIN CS promise to retuzn
         some of the settled funds, Attorney-3 and Restaurant-z agreed to
         drop their request for a hearing . On or about April 3Or 2019,
         at the request of Attorney-3, Judge-z cancelled the scheduled
         con ference .
                              WHEREFORE, the deponent respectfully requests that a
         warrant be kssued for the arrest of STUART FINKELSTEINZ the
         defendant, and that he be arrested, and imprisoned or bailedr as
         the case may be.



                                                                                MASON POSILKIN
                                                                                Special Agent
                                                                                U .S. Attorney's Office, Southern
                                                                                      District of New York


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         Sworn to before pe this
          12th day of November, 2019
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                                                      AR REST W AA RA N T
    To;       Any authorized 1aw enforcementofficer

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                          ç/cd.l stuartFinkelstein                                                                                                               ,
    whoisaccusedofartoffenseorviolation based onthefollowing documentfiledwiththecoul'
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          Jndictment       O SupelsedingHdictment
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          Probation Violation Petition       O Supel-visedRelemseViolation Pethion            O ViolationN otice I
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    Thisoffenseisbriefly described asfollows:
      Violationsof18U.S.C.jâ1341,1O28A,1512(c),1623,and2
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLO RIDA
                                  CASE NO.19-6549-Hunt


  UNITED STATES O F AM ERICA ,
                 Plaintiff
  VS.

  StuartFinkelstein,
                 Defendant.
                                      /

                                           ORDER

        THIS CAUSE is before the Courtforthe initialappearance ofthe above-nam ed

  defendantts)on a SEALED COM PLAINT.
          UPO N O RAL motion of the governm ent in open coud that the com plaint be

  unsealed,itis hereby
          O RDERED AND ADJUDG ED thatthe SEALED CO M PLAINT be unsealed as to

  alIparties in this case.
          oo sE Aso O ROERED at FortLauderdale,Florida this 19. day of Novem ber,

  2019.


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                                          PATRICK M .HUNT
                                          UNITED STATES M AG ISTRATE JUDGE




  cc:A llCounsel




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                      U nited States M agistrate Judge Patrick M .Hunt
                                                                                  Date:11/19/19        Time: 11:00am
 Defendant:StuartFinkelstein                     J#:               Case #: 19-6549 Hunt-



 AUSA: JodiAnton -Duty                                     Attorney: Brian Griffin, Esq (Temp)
 Violation: MailFraud (Removalfrom theSouthern DistrictofNew York)
 Proceeding: InitialAppearance                                       CJA Appt:
 Bond/PTD Held:                Recommended Bond:
 BondSetat:$150,000-PSBCosigned by2familymem bers Co-signed by:
         urrenderand/ordo notobtainpassports/traveldocs                      Language:
   s
         R rttoPTSasAd             d/or            x'saweek/monthby          Disposition:
         phone:         x'saweek/monthinperson                                Aj!partiespresent.
   r    Random urine testing by PretrialServices
                                                                               jye courtsigned O rderto Unseal.
        Treatm entasdeemed necessary
   '
        Refrain from excessive use ofalcohol                                 Deftadvised ofhisrightsand charges.

        Participate in m entalhealth assessm ent& treatm ent
          alntainorseekf                                                     Drain Griffin appeared by phone.
                        ull-timeemployment/education
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 r!'1 Maynotvisittransportationestablishments
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     curfew              pm to        am , paid by                           See bond forspecialconditions.
   C Allowances:M edicalneeds, courtappearances,attorney visits,
     religious,em ploym ent
        rav extended to: SDFL,SDNY,EDNY, NJand State ofTenn
       Other: Appearto aIIhearings and com m itno new crim es
NEXT COURT APPEARANCE      oate:               Ti
                                                m e:             Judge:                           Place:
ReportRE Counsel:
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
Status Conference RE:
Check if        The motion to continue to permitthe defendantto hire counselis GM VFED. The time from te ay through the
Applicable:     rexheduled date isexclude from the deadline fortri
                                                                 alascom puted underthe Sptxpdy TrialAd, since the endsol
                  justi
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                                                           ghtheinterestsofthedefendantandthepublicin         trial
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D.A.R.     11:20:45                                                        Tim e in Court: 30 M ins


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                       UN ITED STATES D ISTR ICT CO URT
                       SO UTHERN DISTRICT O F FLO RIDA
                                Case No:19-6549-81unt

  UNITED STATES OF AM ERICA
             Fllëlirltiff,

  VS.

  StuartFinkelstein,
                Defendant.
                                                            /


                     W A IVER O F R EM O VA L HEA RING

  1,StuartFinkelstein ,charged in a proceeding pending in the Southern DistrictofNew
  York,with MailFraud,etaI.,having been arrested in the Southern DistrictofFlorida and
  taken before Patrick M .Hunt,a United States Magistrate Judge forthatdistrict,who
  informed me ofthe charge and ofm y rightto retain counselorrequestthe assignment
  ofcounselifIam unable to retain counsel,and to have a hearing orexecute a waiver
  thereof,do herebywaive a hearing before the aforementioned magistrate judge and
  consentto the issuance ofa warrantformy rem ovalto the Southern DistrictofNew
  York,w here the aforesaid charge is pending againstm e.



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                                 PATRIC M .HUNT
                                 UNITED STATES M AG ISTRATE JUDGE




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(Rev.03/2016)
                                   UNITED STATES DISTRICT CO URT
                                   SO UTH ERN DISTRICT OF FLORIDA

                                          APPEA R AN C E BO N D :

                                         CA SE N O .:19-6549-H unt

UNITED STATES OF AM ERICA :
                Plaintiff,
                                                           JA IL #:

StuartFinkelstein,
                      Defendant,
1,Sttlal'
        tFinkelstein,the undersigned defendant and I orwe,the undersigned sureties,jointly and severally
acknowledgethatweandour ersonalrepresentatives,jointlyand severally,arebotmdtopaytheUnitedStatesof
America,thesumof$/ y& &J)- J - #r                                -           r
                                   STA N DA R D CO ND ITIO N S O F BO ND

Theconditionsofthisbond arethatthedefendant:
    1. Shallappear before this court and at such other places as the defendant may be required to appear,in
accordance w1t11any and a11orders and directions relating to the defendant's appearmwe in this case,including
appearance forviolation ofa condition ofthedefendnnt'srelease asmay be ordered ornotified by thiscourtorany
otherUnited StatesDistrictCourttowhichthedefendantmaybeheldto answerorthecatlsetransferred.Thedefendant
isto abidebyanyjudgmententered in suchmatterby surrendeling to serveany sentenceimposedand obeying any
orderordirectioninconnectionwithsuchjudo ent.Thisisacontinuingbond,includinganyproceedingonappealor
review,whieh shallremain infullforceand efrecttmtilsuch timeasthecourtshallorderotherwise.
        M ay notatany tim e,forany reason whatever,leavetheSouthem DistrictofFloridaorotherDistrictto which
thecasem ay berem oved ortransferred aherheorshehisappeared in such Distrid pursllnntto the conditionsofthis
bond,withoutfrstobtainingwrittenpermission from thecourt,exceptthatadefendantordered rem oved orlansferred
to anotherdistrictm ay travelto thatdistrictasrequired forcourtappearancesand trialpreparation um n written notice
to the Clerk ofthis courtorthe courtto which the case has been rem oved or transferred.The Southem Districtof
Floridaconsistsofthefollowing cotmties:M onroe,M iam i-Dade,Broward,Palm Beach,M artin,St.Lucie,lndian
River,O keechobee,and H ighlands.
     3. M ay notchangehisorherpresentaddressmsrecorded on thisbondwithoutpriorpermission in m iting from
 the court.
     4. Isrequired to appearin courtata11timesasrequired by noticegiven by the courtoritsclerk to theaddress
 on thisbond orin open courtortotheaddressaschanged by permission from thecourt.'   I'
                                                                                     he defendantisrequired
 to ascertain from the Clerk ofCourtordefense counselthe time and place ofallscheduled proceedings on the
 case.ln no eventm ay a defendantassum ethathisorhercase hasbeen dismissed unlessthecourthasentered an
 orderofdism issal.
     5. The defendantm ustcooperate with 1aw enforcem entofticersin the collection ofa DNA sam ple ifthe
 collection isrequired by 42 U .S.C.Section 14135a.
          Shallnotcom mitany actin violation ofstateorfederallaws.


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                                                          DEFENDANT:StuartFinkelstein
                                                          CASE NUM BER:19-6549-11unt
                                                                           PAG E TW O
                                     SPECIAL CONDITIONS OF BON
ln addition to com pliance with the previously stated conditionsof bond,the defendantmustcomply with the
specialconditionschecked below:
     a.Surrender a11passports and traveldocum ents,ifany,to the PretrialServicesOftice and notobtain any
        tr veldocum entsduring the pendency ofthe case;
      . Re portto PretrialServicesasfollows:( asdirected or. timels) a week in person and- timels) a
        week by telephone;
     c.Submitto substanceabusetesting and/ortreatment;
     d.Refrain from excessive use ofalcohol,orany use ofa narcotic drug orothercontrolled substance,as
       detined in section 102 ofthe Controlled SubstancesAct(21U.S.C.j802),withouta prescription by a
       licensedm edicalpractitioner;
     e.Participatein m entalhealth assessm entand/ortreatm ent;
     f.Participateand undergo asex offense specificevaluation and treatm enl;
 -   g.
       Maintainoractively seekaul-timeemployment;.
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     h.M a'ntain orbegin an educationalprogram ;
      .
        Avoid allcontactwith victim soforwitnessestothecrimescharged,exceptthrough counsel;
     J.Refrain from possessing a firearm ,destructive device orotherdangerousw eapons;
     k.N one ofthe signatories m ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any property they ow n
       untilthebond isdischarged,orotherwise modified by theCourt;
     1,M ay notvisitcomm ercialtransportation establishment'
                                                           .airports,seaport/marinas,commercialbusterminals,
       r?w/n stations,etc.;
     m.Noaccesstotheintemetviaanytypeofconnectivitydevice(i.e.,computers,pda'
                                                                            s,cellularphones,fv'
                                                                                               s4,
       andfollow instnzctionsasoutlined in theagreementwaiverprovided to you by PletrialServices;
     n.HOM E CONFINEM ENT PRO GRAM The defendantshallparticipate in one ofthe following home
       confinementprogram componentsand abideby a1ltherequirementsoftheprogram which ( )willnot
       or( )willincludeelectronicmonitoringorotherIocationverilkation system,paidforbythedefendant
       baseduponhis/herabilitytopay ( )orpaidforby PretrialServices( ).
           Curfew:Youarerestrictedtoyourresidenceeverydayfrom      to    .orasdirededbytheCotut
           HomeDetention:You are restlicted to m urresidenceata11timesexceptfor;( )medicalneedsor
           treatment,( )courtappearances,( )attorneyvisitsorcourtorderedobligations,and
            ( )Other
     o.HALFW AY HO USE PLACEM ENT The defendant shallreside at a halfway house or com munity
       correctionscenterand abideby a1lthenllesand regulationsoftheprogram .
       Youarerestrictedtothehalfwayhouseata11timesexceptfor:( )employment;( )education;
       ( )religiousservices;( )medical,substanceabuse,ormentalhealth treatment;( )attorneyvksits;
       ( )courtappearances;( )courtordered obligations;( ) reporting to PretrialServices;and
         )other
     p.M ay travel to and    from:
       notify PretrialServices
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                                                          DEFENDANT:StuartFinkelstein
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                                                                           PAG E THREE

    q.Com ply with the following additionalconditionsofbond:
       Shallappearata11courthearing and com mitno new crim es.



                   PE NA LTIES AN D SAN CT IO N S A PPLIC A BLE TO DEFEN DA N T

       Violation ofanyoftheforegoingconditionsofreleasemayresultintheimmediateissuanceofawarrantforthe
defendant'sarres'tarevocationofrelease,anorderofdetentionsasprovidedin 18U.S.C.53148,forfeitureofanybail
m sted,and a prosecution forcontemptasprovided in 18 U.S.C.j401,which could resultin a possibleterm of
im prisonm entorafine.

        'l'he commission of any ofrense while on pretrial rele%e m ay result in an additional sentence upon
conviction forsuch offenseto aterm ofimprisonm entofnotmorethan ten years,iftheoffenseisafelony'   ,oraterm
ofimprisonm entofnotmore than one year,ifthe offense isa misdemeanor.Thissentence shallbe consecutiveto
any othersentenceandm ustbeimposed in additiontothesentencereceived fortheofrense itself.

        Title 18 U.S.C.j1503 makesita criminaloffense punishableby up to tive yearsofimprisonmentand a
$250,000finetointimidateorattempttointimidateawimess,jurororoflicerofthecourt;18U.S.C.j1510makesit
a criminalofrense plnishable by up to tive years of imprisonment and a $250,000 fine to obstnzct a criminal
investigation;18 U.S.C.jl512 makesitacriminaloffensepunishable by up to ten yearsofimprisonmentand a
$250,000 fme to tamperwith a witness,victim orirlformant;and 18 U.S.C.j1513 makesita criminalofense
plmishableby uptoten yearsofimprisonm entand a$250,000 fmetoretaliateagainstawim ess,victim orintbrmant,
orthreaten to do so.

       ltisacriminaloffenseunder18U.S.C.j3146,ifafterhavingbeenreleased,thedefendantknowinglyfailsto
appearasrequired bytheconditionsofrelease,orto surrenderforthe serviceofsentenceptlrsltnntto acourtorder.lf
thedefendantwasreleased in comwction with achargeof,orwhile awaiting sentence,surrenderforthe serviceofa
sentence,orappealorcertiormiafterconviction for:

   (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm offifteen yearsormore
       the defendantshallbefined notmorethan $250,000 orimprisoned fornotmorethan ten years,orboth;
   (2)an offensepunishableby imprisomnentforaterm offiveyearsormore,butlessthan fifteen years,the
       defendantshallbe fined notm orethan $250,000 orim prisoned fornotmorethan fiveyears,orboth;
   (3)anyotherfelony,thedefendantshallbefined notmorethan $250,000orimprisoned notmorethan two
       years,orboth;
   (4)amisdemeanor,thedefendantshallbefined notmorethan $100,000 orimprisoned notmorethan one
       year,orboth.

        A term of im prisonm entim posed for failure to appear or surrender shallbe consecutive to the sentence of
imprisonmentforany otheroffense.In addition,a failure to appearm ay resultin the forfeiture ofany bailposted,
which meansthatthe defendantwillbe obligated to pay the fullamotmtofthe bond,which m ay beenforcedby a11
applicablelawsoftheUnited States.



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                                                                              DEFEND A N T:StuartFinkelstein
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                                                                                             PAGE FOUR
                            PENALTIES A ND SA NCTIO NS APPLICA BLE TO SUR ETIES
Violationby thedefendantofany oftheforegoing conditionsofreleasewillresultin an immediateobligation bythesurety orsureties
topaythefullamountofthebond.Forfeitureofthebond foranybreachofoneormoreconditionsmaybedeclared by ajudicial
officerofany United StatesDistrictCourthaving cognizanceoftheaboveentitled matteratthetimeofsuch breach,and ifthebondis
forfeitedandtheforfeiture isnotsetaside orremitted,judgmentmay beenteredupon motion in such United StatesDistrictCourt
againsteachsurvtyjointlyandsvverallyfortheamountofthebond,togetherwith interestandcosts,andexecutionmaybeissuedand
paymentsecured asprovidedby theFederalRulesofCriminalProcedureand otherlawsoftheUnited States.
                                                       SIG N ATU RES
Ihavecarefully read andlunderstandthisentireappearancebond consisting offourpages,orithasbeenreadtome,and,ifnecessary,
translated into my native language,and Iknow thatlam obligated by law to comply with al1ofthetermsofthisbond.lpromiseto
obey aIlconditionsofthisbond,to appearin courtasrequired,andto surrenderforsewiceofany sentenceimposed.lam awareofthe
penaltiesand sanctionsoutlined in thisbondforviolationsofthetermsofthebond.
IfIam an agentacting fororon behalfofacorporate surety,lfurtherrepresentthatlam aduly authorized agentforthecorporate
surety and havefullpowertoexecutethisbondintheamountstated.

    N O TE .                  of        sform M U ST be com pleted before the bond w illbe accepted for iling.
                                                                       DEFEND ANT
    Sir edthls               da                                   ,20 19 at FORT LAUDERDALE ,Florida
    Siredandacknowledgedbeforeme:                                         DEFENDANI':(Signature)
                                  W itness                                              City                              State

                                                                   CORPORA-TE SURETY
    Si
     r edthis                dayof                                ,20 19 at FORT LAUDERDALE ,Florida
    SURE'
        I'Y:                                                                AGENT:(Sknature)
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              City                                State

C & vV
'
                                                       INDIVIDUALSURETIES
    Sia edthis- - -   dayof             :
                                         ,201%atFORTLAUD ,FloridaSignedthis.& tyof.
                                              '
                                                                                  W P6V ,2018-2 FORTLAUD ,Florida'

    SURETY:(signature                    '.         m        e-.
                                                               y x          SIJRETY:tsignaturel        .
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    Signedthis        dayof              ,20J-iatFORTLAUD ,Florida Signedthts           dayof              ,20.1
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                                                                                                                                       da
    SURETY:(Signature)                                                      SURE'I'
                                                                                  Y:(Signature)
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                      City                                State                          City                             State

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    Date: 1!t't                                                              PA TR ICK M .H U N T
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                                 U NITED STAT ES D ISTR ICT CO UR T
                                 SO UTH ERN DISTRICT OF FLORIDA

                                          APPEARANCE BOND:

                                         C A SE NO .:19-6549-11unt

UNITED STATES OF AM ERICA :
                Plaintiff,
                                                           JA IL #:

StuartFinkelstein,
                      D efendant,
1,Stum'
      tFinkelstein,the undersigned defendant and Iorwe,the undersigned sureties,jointly and severally
acknowledgethatweand our ersonalrepresentatives,jointlyandseverally,areboundtopaytheUnited Statesof
America,thesum of$/ y& &'# - J - #r                             *           r
                                    STAN D AR D C O ND ITIO N S O F BO ND

Theconditionsofthisbond are thatthe defendant:
    1. Shall appear before this courtand at such other places as the defendant may be required to appear,in
accordance w1t1: any and a11 orders and directions relating to the defendant's appearance in this case,including
appearance forviolation ofa condition ofthe defendnnt'srelease asmay be ordered ornotitied by thiscourtorany
otherUnited StatesDistrictCourtto wlaichthedefendantmaybeheld toanswerorthecaasetransferred.'I'     hedefendant
istoabideby anyjudgmententered in such matterbysurrendelingto serveany sentenceimposed and obeyingany
orderordirectioninconnectionw1t.
                               13suchjudgment.Tllisisacontinuingbond,includinganyproceedingonappealor
review,which shallrem ain infullforceandefectuntilsuch tim easthecourtshallorderotherwise.
    2. M ay notatany time,foranyreason whatever,leavethe Southem DistrictofFlorida orotherDistrictto which
thecasemay beremoved ortansferred afterhe orshehasappeared in such Districtpurslmntto theconditionsofthis
bond,withoutfirstobtainingwritten permission from thecourt,exceptthatadefendantorderedremovedortransferred
to anotherdistrictmay travelto thatdislrictasrequired forcourtappearancesand trialpreparation um n written notice
to the Clerk ofthiscourtorthe courtto which the case hasbeen removed orlansferred.n e Southem Districtof
Floridaconsistsofthefollowingcounties:M onroe,M iami-Dade,Broward,Palm Beach,M artin,St.Lucie,Indian
River,Okeechobee,and Highlands.
     3. M ay notchangelzisorherpresentaddressasrecorded on thisbond withoutpriorperm ission in writing from
 the court.
     4. lsrequired to appearin courtata11timesasrequired by notice given by the courtoritsclerk to theaddress
 on thisbond orin open courtorto the addressaschanged by perm issien from thecourt.Thedefendantisrequired
 to ascertain from the Clerk ofCourtordefense counselthe time and place ofa1lscheduled proceedingson the
 case.In no eventm ay a defendantassum ethathisorhercase hasbeen dismissed unlessthe courthasentered an
 orderofdism issal.
     5. The defendantm ustcooperate with 1aw enforcem entofficersin the collection ofa DNA smnple ifthe
 collection isrequired by 42 U.S.C.Section 14135a.
          Shallnotcom mitany actin violation ofstateorfederallaws.


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                                     SPECIAL CONDITIONS O F BON
ln addition to compliance with the previously stated conditions ofbond,the defendantm ustcomply with the
specialconditionschecked below:
     a.Surrendera11passportsand traveldocuments,ifany,to the PretrialServices Office and notobtain any
       tr veldocumentsduring thependency ofthecase;
      . Reportt o PretrialServices as follows:     as directed or- timels)a wee/cinperson and. ti  mels)a
        weé'/cby telephone;
     c.Subm itto substance abusetesting and/ortreatm ent;
     d.Refrain from excessive use of alcohol,or any use of a narcotic drug or othercontrolled substance,as
       defined in section 102 ofthe Controlled SubstancesAct(21U.S.C.j802),withoutaprescription by a
       licensed m edicalpractitioner'
                                    ,
     e.Participatein mentalhealth assessmentand/ortreatm ent;
     f.Participate and undergo asex offense specificevaluation andtreatmenl;
     g. v aintain orad ively seekfull-timeemployment;.-x oroc-bçc'oo ob # è ê k-
 -
                                                                             f
     h.M 'ntain orbegin an educationalprogram ;
     1.Avoid a1lcontactwith victim soforwitnessesto thecrimescharged,exceptthrough counsel;
     J.Refrain from possessing a firearm ,destructive device orotherdangerous w eapons;
     k.N oneofthe signatoriesm ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any property they own
        untilthebond isdischarged,orotherwise modified by theCourt;
     1.M aynotvisitcomm ercialtransportation establishment'.airports,seaport/marinas,commercialbusterminals,
       lm /n stations,etc.;
     m.Noaccesstotheintenwtviaanytypeofconnectivitydevice(i.e.,computerspda'
                                                                           s,cellularphones,fv's4,
       and follow instructionsasoutlined intheagreem entwaiverprovided to you by PxtrialServices;
     n.HOM E CONFINEM ENT PRO GRAM The defendantshallparticipate in one ofthe following home
       continementprogram componentsand abideby alltherequirementsoftheprogram which ( )willnot
       or( )willincludeelectronicmonitoringorotherIocation verïcation system,paidforbythedefendant
       baseduponhis/herability topay ( )orpaid forbyPretrialServices( ).
           Curfew:Youarerestrictedtoyourresidenceeveryday âom      to    .orasdirededbytheCourt.
           HomeDetention:You are restricted to yourresidence ata11timesexceptfor:( )medicalneedsor
           treatment,( )courtappearances,( )attorney visitsorcourtordered obligations,and
            ( )Other
     o.HALFW AY HO USE PLACEM ENT The defendantshallreside at a halfway house or com m tm ity
       correctionscenterand abide by allthenllesand regulationsoftheProgram .
       Youarerestrictedtothehalfwayhouseatal1timesexceptfor:( )employment;( )education;
       ( )religiousservices;( )medical,substanceabuse,ormentalhealth treatment;( )attorneyvksits;
       ( )courtappearances;( )courtordered obligations;( )reporting to PretrialServices;and
           )other
     p. M ay travel to and from :    /          x.Z              .t               ' ue*        ,   and m ust
       notifyPretrialServicesoftravelplansbeoreleavingan uponretum.                      efxekj
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    q.Comply with thefollowing additionalconditionsofbond:
       Shallappearatal1courthearing and com m itno new crim es.                                  -    -    -



                   PENA LTIES A ND SAN C TIO N S A PPLICA BLE TO DE FEN DA N T

       Violation ofanyoftheforegoingconditionsofreleasem ay resultintheimmediateissllpnceofawarrantforthe
defendant'sarrestoarevocationofrelease,anorderofdetention,asprovidedin 18U.S.C.j3148,forfeitureofanybail
m sted,and a prosecution forcontemptasprovided in 18 U.S.C.j401,which could resultin a possible term of
im plisonm entora fne.
       'Fhe com mission of any offense while on pretrial release may result in an additional sentence upon
conviction forsuch offenseto aterm ofimprisonm entofnotmorethan ten years,ifthe offenseisa felony;oraterm
ofimprisonmentofnotm ore than oneyear,iftheofrense isam isdemeanor.'    Ihissentence shallbe consecutiveto
any othersentenceand mustbeimposed in additionto thesentencereceived fortheoffenseitself.

       Title 18 U.S.C.j1503 makesitacriminaloffenseplnishable by up to five yearsofimprisonmentand a
$250,000finetointimidateorattempttointimidateawimess,jtlrororoflkerofthecourt;18U.S.C.51510makesit
a crim inal oflknse punishable by up to five years ofim prisonmentand a $250,000 fine to obstmct a crim inal
investigation;18 U.S.C.j1512 makesitacriminaloffensepmishableby up to ten yearsofimprisonmentand a
$250,000 fine to tamperwith a witness,victim orintbrmant;and 18 U.S.C.51513 makes ita criminaloFense
plmishableby up to ten yearsofimprisonmentand a$250,000 fmeto retaliateagainstawim ess,victim orinformant,
orthreaten to do so.

       Itisacriminaloffensetmder18U.S.C.j3146,ifafterhavingbeenreleased,thedefendantknowinglyfailsto
appearasrequiredby theconditionsofrelease,orto surrenderfortheserviceofsentenceptlrsuanttoacourtorder.If
thedefendantwasrele% ed in colmectionwith a chargeof,orwhileawaiting sentence,surrenderforthe serviceofa
sentence,orappealorcertiorariafterconviction for:

   (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm offifteen yearsormore
       thedefendantshallbefined notm orethan $250,000 orimprisoned fornotm orethanten years,orboth;
   (2)anoffensepunishableby imprisonmentforaterm offiveyearsormore,butlessthan fifteen years,the
      defendantshallbe fined notmorethan $250,000 orimprisoned fornotm orethan fiveyears,orboth;
   (3)any otherfelony,thedefendantshallbetinednotmorethan $250,000orimprisonednotmorethantwo
       years,orboth;
   (4)amisdemeanor,thedefendantshallbe fined notmorethan $100,000 orimprisoned notmorethan one
       year,orboth.

        A term ofimprisonm entimposed forfailure to appearorsurrendershallbe consecutiveto the sentence of
imprisonmentforany otheroffense.ln addition,a failttre to appearm ay resultin the forfeiture ofany bailposted,
which m eansthatthedefendantwillbeobligated to pay thefullam otmtofthebond,which may beenforced by a11
applicablelawsoftheUnited States.



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                           PENA LTIES AND SANCTIO NS APPLIC ABLE TO SUR ETIES
Violationbythedefendantofanyoftheforegoing conditionsofreleasewillresultin an immediateobligationby thesurety orsureties
topaythefullamountofthebond.Forfeitureofthebond forany breach ofoneormoreconditionsmaybedeclared by ajudicial
officerofany United StatesDistrictCourthavingcognizanceoftheabove entitledmatteratthetimeofsuch breach,and ifthebondis
forfeited andtheforfeitureisnotsetasideorremitted,judgmentmaybeentered upon motion in such United StatesDistrictCourt
againsteachsuretyjointlyandseverallyfortheamountofthebond,togetherwithinterestandcosts,andexecutionmaybeissuedand
paymentsecured asprovidedbytheFederalRulesofCriminalProcedureand otherlawsoftheUnitedStates.
                                                       SIG NATU RES
Ihavecarefully read and lunderstandthisentireappearancebond consisting offourpages,orithasbeenreadtome,and,ifnecessary,
translated into my nativelanguage,and lknow thatlam obligated by law to comply with allofthetermsofthisbond.lpromise to
obeyal1conditionsofthisbond,toappearin courtasrequired,andto surrenderforsewiceofany sentence imposed.lam awareofthe
penaltiesandsanctionsoutlined in thisbond forviolationsofthetermsofthebond.
Iflam an agentacting fororon behalfofacorporate surety,lfurtherrepresentthatIam aduly authorized agentforthe corporate
surety and havefullpowerto executethisbond intheamountstated.

    N O TE -                 of      s form M U ST be com pleted before the bond w illbe accepted for filing.
                                                                   DEFEND ANT
    Signedthls              da                               ,20 19 at FORT LA UDERDA LE ,Florida
    Siredandacknowledgedbeforeme:                                     DEFENDANT:tsignaturel
                                 Wi
                                  tness                                              City                            State

                                                              CO RPO RA TE SUR ETY
    Signedthis              dayof                            ,20 l9 at FORT LAUDERDALE ,Florida
    SURE'I'Y:                                                          AGENT:(Sknature)
                                                                       PRINT NAM E:
             City                            State

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                                                    INDIVIDUALS  -URET-IES
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                                        ADDRESjAND CONTACT INFORMATION
                                            FO R DEFEND ANT AND SURETIES
    Asindicated in condition 3 ofthisbond,thedefendanttûMay notchangehisorherpresentaddressasrecorded on thisbondwithout
    priorpermission inwriting from thecourt.''Thecurrentaddressesofthedefendantand suretiesareasindicatedbelow:


A.                                           D           DEFENDANT
    PRINTNAME:                                 1             j
        ETADDRESS:            Z                                     Q
              City             Sta            Zip

    TELEPHONE:          A*              T -                  (
                                                     CORPORATE SURETY

    SURETY:
    AGENT:
    SIREETADDREKS:

              City              State         Zip
    TELEPHONE:


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                                                     IND IV ID UAL SUR ETIES
LPRINTNAME:;<g/n/4Yse15,# x
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    REIATIONSIIDTODEFESDANT: X '                                 REIATIONSIIIPTODEFENDANT: H
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    PRINT NAM E:                                                 PRINT NAM E:
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OFFLORIDA
                                  CASE NO .19-6549-Hunt

UNITED STATES O F AM ERICA
               Plaintil,



Stuad Finkelstein,
                     Defendant.
                                  /

                                      ORDER OF REMOVAL

      It appearing that in the Southern District of NewYork,a Crim inalComplaint w as filed
againstthe above-named defendantwhich charges with M ailFraud'
                                                             ,Aggravated ldentity Theft;
Obstruction of Justice and False Declarations Before a Coud, and that the defendant was
arrested in the Southern District of Florida and was given a hearing before United States
M agistrate Judge Patrick M . Hunt at Fort Lauderdale, Florida,which om cially com m itted the
defendantfor rem ovalto the Southern Districtof New York,itis O RDERED AND A DJUDG ED
thatthe defendantbe rem oved to the above-named districtfortrialon said charge.
      And itfudher appearing thatthe defendantwaived furtherhearings in the said removal
proceedings held by the M agistrate Judge Patrick M .Huntforrem ovaland posted bailin the
amountof      W X S&D XXZ                           whichwasapprovedbytheUnitedStates
Magistrate Judge Patrick M .Hunt,and itis furtherO RDERED thatthe defendantshallappearin
the aforesaid district at such tim es and places as m ay be ordered by that District Coud, in
accordance w ith the term s and conditions ofaforesaid bailbond furnished by the defendant,and
itis fudherORDERED thatthe funds,plus interest,which m ay have been deposited on behalfof
this defendantwith the Clerk of the Courtunder BailReform Actbe transferred to the district
where rem oved.
      DO NE AND O RDERED atFortLauderdale,Florida,this 19th' day ofNovem ber,2019.


                                                           j                 '

                                              PATRIC K M .HUNT
                                              UNITED STATES MAG ISTRATE JUDGE

cc: M iam i,Financial


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